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                               UNITE D STATES D ISTR ICT C O UR T
                               SO UTH ERN D ISTR IC T O F FLO R IDA
                                   Case No.     1:20-mj-03449-AOR

   U NITED STATES O F A M ER ICA ,



   Y O ELV IS D EN IS HER NAN DEZ,

           Defendant.
                                                  /

                            CR IM INAL CO M PLA IN T C OV ER SH EET


    1. Did this m atter originate from a m atter pending in the N ol-thel-n Region ofthe Ullited States
       Attorney'sOfficepriortoAugust9,2013 (M ag.Judge Alicia0.Valle)?                Yes X No
   2. D id this m atter originate from a m atterpending in the Central Region of the U nited States
       Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekM .Maynardlr?- Yes X No
   3. D id this m atter originate from a m atter pending in the CentralRegion of the United States
       Atlonzey'sOfficepriortoAugust8,2019(M ag.JudgeJaredM .Strausq)?                 Yes X No

                                                        Respectfully subm itted,

                                                        ARIAN A FAJA RD O OR SHAN
                                                        UN ITED STATES ATTORNEY


                                                 By:
                                                         LIN D SE L OPOU LOS FRIEDM A N
                                                         AssistantUnited States Attolmey
                                                         Fla.BarNo.091792
                                                         99 N ortheast4th street
                                                         M iam i,FL.33132-2111
                                                         Te1:(305)961-9168
                                                         Fax:(305)564-9109
                                                         Lindsey.Friedman@usdojigov
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                              YOELVIS DENIS HERNANDFZ.
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Case 1:20-cr-20252-MGC Document 3 Entered on FLSD Docket 08/24/2020 Page 3 of 8




                   AFFIDAV IT IN SUPPOR T O F CRIM INA L CO M PLAINT

          Your Affiant,N eilJ.D 'Cunhw being duly sworn,deposes and states asfollow s:

                       INTR O DU CTIO N A ND A G ENT BA CK G R O UND

                 Iam aSpecialAgentwith theOfficeofthelnspectorGeneral(OIG)United States
   Agency for Intel-nationalDevelopmentOffice ofthe Inspector General(tçUSAID''),cun'ently
   assir ed to the O1G Headquarters,W ashington,D .C. M y cun'entduties involvethe investigation

   ofa variety of federaloffenses,including theft of govem m entproperty,transportation of stolen

   property,m oney laundering,em bezzlem ent and other violations offederallaw . Ihave been an

   USAID 01G SpecialAgentsinceSeptem ber2019, Priortoemploymentasa SpecialAgentwith

   U SM D ,Iw as em ployed as a SpecialAgentw ith the United States Al-m y Crim inalIlw estigation

   Commanctforapproximatelyt'
                            ive(5)years.
                 ThisAffidavitissubm itted in suppol-tofa crilninalcolnplaintcharging YO ELVIS

   DENIS HERNANDEZ (''HERNANDEZ''),with TheftofGovemmentPropel-ty,in violation of
   Title 18, United States Code, Section 641 and TheftConcelming Program s Receiving Federal

   Funds,in violation ofTitle l8,U nited StatesCode,Section 666.Irespectftllly subm itthatprobable

   causeexiststo chargeHERNANDEZ withtheftofonehundred andniltety-two(192)LTV22200
   velztilatorsbelongingto U SA JD in violation ofTitle 18,United StatesCode,Sections641and666,

                 Thestatem ents contained in thisAffidavitarebased on m y personalknow ledge,as

   w ellas infbnnation relayed to m eby other1aw enforcem entofficials in thisinvestigation. Ihave

   notincluded in this Affidavit each and evel'
                                              y factknown to m e. Rather,Ihave included only the

   factsthataresufficientto establish probable cause forthe issuance ofacrim inalcom plaintagainst

   H ERN AND EZ forthe abovexdescribed crim inalviolation.
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                                        PR O BA BLE CA USE

          4.      On Sunday,August9,2020,atapproxim ately 1:47 AM ,am ale,lateridentified as

   HERNAN DEZ,participated in detachinga 53 footH yundaiTrailerVehicleIdentification Num ber

   (tIVINt1) 3113V532C7117-581375,ffom atractor,whileitwasparkedatawarehouseparking1ot
   located at3604 Quantum Boulevard,Boynten Beach,Florida33435. 'T'
                                                                  l'
                                                                   letrailercontained ene
   hundred and ninety-two (192) LTV2 2200 lnedicalventilators owned by USAID and wol'th
   approximately $3m illion.

                  The tractortrailerw as parked atthe above location by the tl-uck driver em ployed

   by the ownerofthe trailer,Landstar Inc.while the tnlck driver spentthe night athis residence

   located nearby. The tnlck w as scheduled to deliver the ventilators to the M iam i lntenlational

   Ailport and ultim ately the ventilators w ere intended to be delivered to the United States

   Am b% sadorto the Reptlblic of E1Salvador,R.D .J., The ventilators w ere pa14 of atl agreem ent

   signed betw een theUnited StatesofA m erica andthe G overnm entofE1Salvadorto treatcritically

   i11CO VID-19 patients in E1Salvador.

                  On August9,2020,thetl-uck driverrepol4ed the theftofthetrailerto tlw Boynton

   Beach Police Depadm ent.

                  Law enforcementreviewed security cam erafootagefrom security cameraslocated

   in thevicinity of3600 Quantum Boulevard. The footagerevealed an unidentified whitetractor
   witllout a trailer, an-iving in the parking 1ot at approxilnately 1:47 AM , on August 9, 2020.

   Approxim ately an hour later,at or about2:55 A M ,the tractorwas obselwed leaving the parking

   lot along w ith w hat appeared to be the Hyundaitrailer in tow ;the trailer in the footage is white
   w ith the icon ofa starand thenam e KILAN D STA R''displayed prom inently along the length ofthe

   trailer.The tractortowing the H yundaitrailer was distinctive'
                                                                .it w as a white 2019 Freightliner
Case 1:20-cr-20252-MGC Document 3 Entered on FLSD Docket 08/24/2020 Page 5 of 8




   Cascadia Fleet m odel,w ith no rear w indow s and a logo of an Eagle affixed or painted on '
                                                                                              the

   passengerside ofthetractor.

                 On August 12,2020,atapproxim ately 8:00 AM ,a Sherifr'sD eputy w ith Brow ard

   County Sheriff'sOfficenoticed awhitetrailernear 16000 Loxahatchee Road,Parkland,17L33076.

   The Sheriff'sDeputypassedthelocation again aboutan hourlaterand noticedthetrailerwasstill

   there. He stopped to exam ine thetrailerand obselwed thatthetrailerw aslnissing the license plate

   and whitepaintpartially obscuredthe nalne,CLLANDSTAR ''which he could stillseeran along
   thelengthofthetrailer.HewasabletodetelnuinethattheVehicleIdentificationNumber(ç$VIN'3)
   was 3113V532C7117581375. A review ofthe VIN in the NationalCrime Ilzfonnation Center

   database indicated thetrailerhad been repol-ted as stolen. The trailerw asem pty m4d appeared to

   have been abandoned. This trailer's Vm matched the Vm of the stolen trailer ofm edical

   vçntilatorsfrom 3604QuantunlBoulevard on August9,2020.
          9,     Investigation by 1aw enforcem ent rcvealed that on July 23,2020, a white 2019

   FreightlinerCascadia Fleetm odeltractoralong with atrailer,w asstolen from a Km ad parking 1ot

   10Cated at 12400 SW 8t
                        11 Street, M iami,Florida 33184. The tractor trailer was owned by

   N ationwide FreightSystem s.

          10,    Physicaldescription ofthe tracter stolen from the Km ar'
                                                                        tparking 1otm atched the

   description ofthetractorobserved on the sectlrity cam eras stealing the Hyundaitrailercontaining

   theonehtmdredandninety-two(192)LTV22200medicalventilators.
                 Law elzforcem entcontacted DaimlerTnlclcsNorth Am erica,LLC tççDail'
                                                                                    nler''l,the
   parentcom pany ofFreightliner Inc,and leanzed thatthe stolen 2019 Freightliner Cascadiatractor

   wasequippedwith alelematicspowered GlobalPositioning System (I:GPS'')equipment.Daimler
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   has the ability to obtain historicallocation tracking forits truclts based on the GPS technology '

   w ithin itstrucks.

                  Dailnler provided 1aw enforcem entw ith historicallocation tracking forthe stolen

   tractorwhich revealedthethat1hetractorhadbeen inthelocation of3600 Quantum Boulevardin
   Boynton Beach on August 9,2020,and had been in thevicinity of 16000 Loxahatchee Road on

   August 10,2020 atthe specific tim es m atching the incidents. The historicalG PS location data

   also revealed thaton August19,2020,thetractorw asparked ataproperty in l'uralw estel-n M iam i-

   DadeCounty,located 16500 SW 21201Avenue, M iami,Florida33187 (ltthe Property''),and had
   been stational'y atthatlocation forfive days.

           13.    Dtlring surveillance by 1aw enforcem ent on Augtlst 20, 2020, 1aw enforcem ent

   obsenred a blue BM W X 1 SUV w ith Florida license tags leaving the Propel-ty atapproxim ately

    10:55 AM through the only elztrance onto atzd ofrofthe fenced Property. Florida Highw ay Patrol

   pulled overthe blue BM W X 1to conductan investigatory traffic stop,During the stop,thedriver

   andsoleoccupantofthevehicle,YOELVISDENIS HERNANDEZ CLHERNANDEZ''),provided
   Florida Highway Patrolwith his Florida Driver License,The Florida Highway PatrolTrooper

   conducted a search of the D river License on the Driver and Vehicle Infonnation Database and

   discovered that HERN AN DEZ'S driver's license w as suspended. 'The Florida H ighway Patrol

   Trooperarrested H ERN AN DEZ fordriving with a suspended license. A search ofthe BM W X 1

   incident to the an'est revealed a BM X X 1 ignition key fob along w ith four unidentified keys

   attached to the key ring. The key ring w as collected by 1aw enforcem entduring the inventory of

   the BM W X 1. The BM W X 1 isa rentalcarand isnottitled to HERN AND EZ.

           14.    OnAugust20,2020,pursuanttoafederalsearchwarrant(20-mj-3439-Goodman),
   U SAID and Federal Bureau of Investigations conducted a search ofthe Property. During the
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   execution ofthe search w arrant,law enforcem entfound the stoten 2019 Fteightlinel'Cascadia

   tractoralongw ith aw hite in colortrailersectlred w ith'a m asterlock. Them asterlock wascutwith

   a grinder, which revealed tlze LTV2 2200 ventilators and accessories with U sA lD-branded

   packaging concealed w ithin the trailer. The packaging and brr ding were consistent w ith the

   packaging and branding of the stolen ventilators, and w ere later confinued to be the stolen

   ventilators.

                  Law enforcem entsubsequently colnpared the cutm asterlock with the keysfound

   on the BM W key ring atthe tim e of HERN AN D EZ'S arrest. Law enforcem entw as able to open

   thq m aster lock from the trailer w ith two ofthe four keys recovered from HERN AN DEZ'S key

   ring follow ing the traffic stop. A third key w as able to open the padlock used to secure the

   entry/exitofthePropel-ty,

          l6.     Law elzforcem entinterview ed A.R.,propel-ty owneroftheProperly. A.R.told 1aw

   enfbrcementthatHERNANDEZ hadpaid A.R.$140.00toparkthetractortraileron hisproperty.
   A .R.identified HERN AN DEZ asthe individualwho paid him $140.00to parkthetl-uck and trailer.

   A ,R,also told 1aw enforcem ent thathe had given H ERN AN DEZ a key to the padlock used to

   securethe entry/exitofthe Properiy.




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           Attested lo by theApplicantin accordanceNvitllthercquirclnelllsol-Fetl.R.CrilM-P.4.!
           by Face'I-illtethis24th day ofAuttust2020.
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           lIONOItABLE ALIL-IA N'
                                1. TAZO-REYES
           UNITED STATES M AG ISTRATE'JUDGE




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